Case 18-52363-jwc     Doc 65   Filed 03/06/19 Entered 03/06/19 16:03:54     Desc Main
                               Document      Page 1 of 3


              IN THE UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

IN RE:                                         )
                                               )      CHAPTER 13
MILLARD COURTNEY FARMER, JR.,                  )
                                               )      CASE NO. 18-52363-JWC
      Debtor                                   )

                  CERTIFICATE OF MANNER OF SERVICE

      This is to certify that I have this day served debtor, creditors and Trustee in

the foregoing matter with a copy of this document by depositing in United States

Mail copies of the same in properly addressed envelopes with adequate postage

thereon or by notification of electronic filing to:

                            Millard Courtney Farmer, Jr.
                                 1196 DeKalb Ave
                                 Atlanta, GA 30307

                     Nancy J. Whaley, Standing Ch. 13 Trustee
                          303 Peachtree Center Avenue
                         Suite 120, Suntrust Garden Plaza
                                Atlanta, GA 30303

                                  Julie M. Anania
                                  Nancy J. Whaley
                              Standing Ch. 13 Trustee
                                      Suite 120
                            303 Peachtree Center Avenue
                              Atlanta, GA 30303-1286

                                    Leon S. Jones
                                Jones & Walden, LLC
                                 21 Eighth Street, NE
                                  Atlanta, GA 30309
Case 18-52363-jwc   Doc 65    Filed 03/06/19 Entered 03/06/19 16:03:54   Desc Main
                              Document      Page 2 of 3




                               Cameron M. McCord
                               Jones & Walden, LLC
                                21 Eighth Street, NE
                                 Atlanta, GA 30309

                                   City of Atlanta
                                 Office of Revenue
                             55 Trinity Ave, Suite 1350
                                 Atlanta, GA 30303

                      DeKalb County Tax Commissioner
                       4380 Memorial Drive, Suite 100
                             Decatur, GA 30032

                                  John H. Murphy
                             c/o Maloy Jenkins Parker
                             1360 Peachtree Street NE
                                     Suite 910
                                 Atlanta, GA 30309

                              John Harold Murphy
                     Kilpatrick Townsend & Stockton LLP
                        Attn: Colin M. Bernardino, Esq.
                      1100 Peachtree St. NE, Suite 2800
                               Atlanta, GA 30309

              LVNV Funding, LLC its successors and assigns as
                       assignee of Citibank, N.A.
                      Resurgent Capital Services
                             PO Box 10587
                      Greenville, SC 29603-0587

                                   Nan Freeman
                                  c/o Ken Gordon
                                   PO Box 1088
                                Lagrange, GA 30241
Case 18-52363-jwc   Doc 65    Filed 03/06/19 Entered 03/06/19 16:03:54   Desc Main
                              Document      Page 3 of 3


                             Resurgent Capital Services
                                  P.O. Box 10587
                               Greenville, SC 29603

                                   Wilmer Parker
                                      Suite 910
                               1360 Peachtree Street
                              Atlanta, Ga. 30309-3287

                          Collin Michael Bernardino
                     Kilpatrick Townsend & Stockton LLP
                          1100 Peachtree Street, N.E.
                            Atlanta, Ga. 30309-4530

                             This 6th day of March 2019.

                                                   /s/ Ralph Goldberg
                                                   Ralph Goldberg
                                                   Georgia Bar No. 299475
                                                   Attorney for Debtor
Goldberg & Cuvillier, P.C.
1400 Montreal Road, Suite 100
Tucker, Georgia 30084-6919
(770) 670-7343
(770) 670-7344 (FAX)
attorneygoldberg@hotmail.com
